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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TRIAD ADVISORS, LLC,

                                 Plaintiff,

          vs.                                                    Civil Action No. 1:24-cv-03092

EVELYN BOOS, STEPHEN MAZZONI, DAVID                                Honorable Andrea R. Wood
WILKS, JANET ALDRED, DIANA MASTRO,
MICHAEL AND SHIN SHIN CHIN, KAREN
NICKERSON, JAMES CONNELLY, MELISSA
DONAHUE, HERBERT AND CONSTANCE
ABELSON, CHARLES AND LESLIE UGEL,

                                 Defendants.


           AGREED MOTION FOR ENTRY OF FINAL JUDGMENT ON ALL CLAIMS

           Plaintiff Osaic Wealth, Inc. (“Osaic”) and Defendants Evelyn Boos, Steven Mazzoni,

    David Wilks, Janet Aldred, Diana Mastro, Michael and Shin Chin, Karen Nickerson, James

    Connelly, Melissa Donahue, Herbert and Constance Abelson, and Charles and Leslie Ugel

    (“Defendants”), by and through their undersigned counsel, and pursuant to Federal Rule of Civil

    Procedure 54, respectfully submit this agreed motion for entry of final judgment on all outstanding

    claims, including Counts I and II of Osaic’s First Amended Complaint (ECF 10), and in support

    thereof states as follows:

          1.       This action was brought by Osaic to enjoin Defendants from pursuing their claims

in a pending arbitration before the Financial Industry Regulatory Authority (“FINRA”) (Richard

Kim et al. v. Triad Advisors LLC, FINRA Case No. 23-03651).1 Osaic’s complaint contains two

counts. Count I is for declaratory relief; specifically requesting a finding that Defendants cannot



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 This action was originally brought by Triad Advisors, LLC, which was substituted out as
plaintiff by its successor-in-interest Osaic. (ECF 40).
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proceed with their claims in the FINRA arbitration for lack of privity. Count II is a claim for

injunctive relief in which Osaic seeks both preliminary and permanent injunctions enjoining

Defendants from pursuing their claims against it in the FINRA arbitration. Osaic filed a motion for

preliminary injunction on May 2, 2024. (ECF 11).

           2.    On November 6, 2024, this Court entered an order denying Osaic’s motion for a

 preliminary injunction. (ECF 28). The Court held that signing the submission agreements

 constituted a waiver of any subsequent or simultaneous objection to the arbitrability of those

 claims. (Id. at 5). The Court therefore concluded, as a matter of law, that “by signing the two

 Submission Agreements, [Osaic] is bound by their terms requiring it to arbitrate all claims,

 including those of Defendants. For that reason, [Osaic] has failed to establish its likelihood of

 success on the merits of its claims.” (Id.).

          3.     On December 3, 2024, Osaic timely appealed this Court’s order to the United States

Court of Appeals for the Seventh Circuit. (Seventh Cir. Dkt. 1). The Seventh Circuit ordered Osaic

to file a memorandum addressing appellate jurisdiction. (Seventh Cir. Dkt. 4). Osaic timely filed its

appellate jurisdictional memorandum. (Seventh Cir. Dkt. 11 at 7 (citing Wallrich v. Samsung Elecs.

Am. Inc., 106 F.4th 609 (7th Cir. 2024); Green Tree Fin. Corp.-Alabama v. Randolph, 531 U.S. 79,

86 (2000)). The Seventh Circuit then ordered Defendants to file a response to Osaic’s jurisdictional

memorandum (Seventh Cir. Dkt. 12), which they did (Seventh Cir. Dkt. 13). The dispute between the

parties as to appellate jurisdiction concerns whether this Court’s November 6, 2024, order is sufficiently

final to be appealable. The Seventh Circuit has not yet ruled whether it has jurisdiction over Osaic’s

appeal.




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          4.      The parties have since conferred and agreed to mutually request that this Court

enter an order pursuant to FRCP 54, denying declaratory relief and entering a permanent

injunction—thereby answering any question as to the finality of this Court’s resolution of Osaic’s

claims.

          5.      The basis for entering an order pursuant to FRCP 54 is that based on this Court’s

Order (ECF 28), Osaic’s claims for declaratory relief and permanent injunction are rendered moot.

See Moot, Black’s Law Dictionary (12th ed. 2024) (defining a moot question as one that “has been

resolved and has therefore passed the point of being a live controversy”).

                  WHEREFORE, and for all the reasons stated above, Plaintiff and Defendants

respectfully request that this Court enter an order pursuant to FRCP 54 dismissing as moot Counts I

and II of Plaintiff’s first amended complaint for declaratory relief and a permanent injunction,

respectively. The parties further request any other relief this Court deems appropriate.


          Respectfully submitted this 7th day of February, 2025.


/s/ Adam Gana                                           /s/ Alison S. Cooney
Adam Gana (Illinois Bar # 6321845)                      Alison S. Cooney (Illinois Bar # 6312577)
GANA WEINSTEIN LLP                                      NELSON MULLINS RILEY
3706 North Greenview Ave., Suite 100                    SCARBOROUGH LLP
Chicago, IL 60613                                       123 North Wacker Drive, Suite 2100
(646) 404-0000                                          Chicago, IL 60606
agana@ganallp.com                                       (312) 376-1023
                                                        alison.cooney@nelsonmullins.com
Robert M Van De Veire
KURTA LAW                                               Scott N. Sherman (pro hac vice)
295 Madison Avenue, Suite 705                           NELSON MULLINS RILEY
New York, NY 10017                                      SCARBOROUGH LLP
(212) 658-1852                                          201 17th Street NW, Suite 1700
rvandeveire@kurtalawfirm.com                            Atlanta, GA 30363
                                                        scott.sherman@nelsonmullins.com
Attorneys for Defendants
                                                        Attorneys for Plaintiff Osaic Wealth, Inc.



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                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 29 day of January, 2025, I electronically filed the within and
foregoing with the Clerk of Court using the CM/ECF system, which will send notification of such
filing to all attorneys of record.


        Dated this 7th day of February, 2025.




                                                /s/ Alison S. Cooney
                                                Alison S. Cooney (Illinois Bar #6312577)




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